                                                                            United States District Court
                                                                              Southern District of Texas

                                                                                 ENTERED
                                                                                 June 09, 2020
                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS                       David J. Bradley, Clerk

                             BROWNSVILLE DIVISION

RUBEN GUTIERREZ,                           §
                                           §
         Plaintiff,                        §
VS.                                        §     CIVIL NO. 1:19-CV-185
                                           §
LUIS V SAENZ, et al,                       §
                                           §
         Defendants.                       §

                                       ORDER

        The Court is in receipt of Plaintiff Ruben Gutierrez’s (“Gutierrez”) motion for
stay of execution, Dkt. No. 47, 56. The Court is also in receipt of Defendants’
opposition to the stay, Dkt. No. 55. For the foregoing reasons the Court GRANTS
Plaintiff’s motion, Dkt. No. 47.
        This action arises under 42 U.S.C. § 1983 and Gutierrez challenges the
constitutionality of Texas’ DNA testing statute. Dkt. No. 45 at 3; Tex. Crim. Proc.
Code art. 64. Gutierrez claims the statute violates procedural due process because it
denies a movant the ability to test evidence that would demonstrate he is innocent
of the death penalty, and it is unequally and unfairly applied to someone who is
convicted under the law of parties. He also claims its different outcome standard is
overbroad. Dkt. No. 45 at 25-26. Gutierrez seeks a declaratory judgment holding
Chapter 64 unconstitutional. Id. at 37.
        Gutierrez also claims he will be executed under conditions that violate the
First   Amendment’s      Free   Exercise   and    Establishment   Clauses     and      that
substantially burden the exercise of his religious beliefs protected by the Religions
Land Use and Institutionalized Persons Act (“RLUIPA”) of 2000, 42 U.S.C. § 2000cc
et seq. Id. at 15.
        Gutierrez requested a Texas Department of Criminal Justice (“TDCJ”)
employed chaplain to accompany him during his final moments in the execution



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chamber. His request was denied based on the TDCJ execution procedure adopted
on April 2, 2019, which prohibits all religious or spiritual advisors from entering the
execution chamber. That TDCJ policy now states: “TDCJ Chaplains and
Ministers/Spiritual Advisors designated by the offender may observe the execution
only from the witness rooms.” Facing an execution date, Gutierrez filed this lawsuit
requesting “a reasonable accommodation to have a Christian chaplain in the
execution chamber when he is executed[.]” Dkt. No. 45 at 3. Gutierrez claims relief
is necessary to ensure he is executed in way that does not unfairly burden the
exercise of his religious beliefs. Id. at 4.
       On June 2, 2020, after extensive analysis, this Court granted in part and
denied in part Defendants’ motion to dismiss Gutierrez’s complaint for failure to
state a claim and for lack of jurisdiction. Dkt. No. 48 at 30-31 (granting dismissal on
three grounds and denying dismissal all other grounds). The Court reserved the
question of whether to stay Gutierrez’s June 16, 2020 execution for determination
in a separate order. Dkt. 48 at 1. The briefing before the Court is adequate to decide
whether Gutierrez is entitled to a stay of execution.
       When considering a motion to stay a court should determine
       “(1) whether the movant has made a showing of likelihood of success on the
       merits, (2) whether the movant has made a showing of irreparable injury if
       the stay is not granted, (3) whether the granting of the stay would
       substantially harm the other parties, and (4) whether the granting of the stay
       would serve the public interest.”

In re Campbell, 750 F.3d 523, 534 (5th Cir. 2014) (citing Nken v. Holder, 556 U.S.
418, 433-34 (2009)).
       A person condemned to death has no automatic entitlement to a stay of
execution. McFarland v. Scott, 512 U.S. 849, 858 (1994). A stay of execution is an
equitable remedy, not available as a matter of right. Wood v. Collier, 836 F.3d 534,
538 (5th Cir. 2016). A stay is an exercise of judicial discretion, dependent on the
circumstances of the particular case. Nken, 556 U.S. at 433. In a capital case, the
movant must show a substantial case on the merits and show the balance of
equities weighs heavily in favor of granting the stay. Celestine v. Butler, 823 F.2d


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74, 77 (5th Cir. 1987). The court must consider a state’s strong interest in
proceeding with judgement and attempts at unnecessary delay or manipulation in
bringing a claim. Nelson v. Campbell, 541 U.S. 637, 649 (2004).
      The Court’s analysis in this case demonstrates there are outstanding,
substantial, and novel legal and factual questions raised by Gutierrez that have
survived a motion to dismiss. Dkt. No. 45. The Court concludes that Gutierrez has
made a showing of likelihood of success on the merits of at least one of his DNA or
execution-chamber claims. See Dkt. No. 45. While the public has a strong interest
in the execution of a valid criminal judgment, the public interest will also be served
by fair adjudication of the important issues raised by Gutierrez’s lawsuit. Weighing
those factors, as well as the potential irreparable injury Gutierrez will suffer if his
execution were to go forward, against any harm the state may experience through
delay in executing his death sentence, the Court concludes that a stay is warranted
in this case. See Nken, 556 U.S. at 433-34; In re Campbell, 750 F.3d at 534. A stay
will allow this Court to resolve the serious factual and legal issues that remain
pending. See Murphy v. Collier, 942 F.3d 704, 709 (5th Cir. 2019) (staying the
execution of an inmate raising a similar execution-chamber claims “to explore and
resolve serious factual concerns about the balance between . . . religious rights and
the prison’s valid concerns for security”).
      The Court ORDERS that Gutierrez’s motion, Dkt. No. 47, for stay of
execution is GRANTED, and his execution scheduled for June 16, 2020 after 6:00
p.m. is STAYED pending resolution of this § 1983 action.

      SIGNED this 9th day of June, 2020.


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                                              Hilda Tagle
                                              Senior United States District Judge




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